Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21      Page 1 of 303 PageID 10675




   UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF
                             TEXAS, DALLAS DIVISION
In Re: Highland Capital Management, L.P         § Case No. 19-34054-SGJ-11
Highland Capital Management Fund Advisors, L.P.
et al                                           §
                          Appellant             §
vs.                                             §
Highland Capital Management, L.P.,
                                                §      3:21-CV-00538-N
                          Appellee           §

  [1943] Order confirming the fifth amended chapter 11 plan, Entered on 2/22/2021 .

                            APPELLANT RECORD
                                VOLUME 30
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21   Page 2 of 303 PageID 10676
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21   Page 3 of 303 PageID 10677
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21   Page 4 of 303 PageID 10678
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21   Page 5 of 303 PageID 10679
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 1 of
                                        236 06/09/21 Page 6 of 303 PageID 10680
Case 3:21-cv-00538-N Document 26-30 Filed



                              EXHIBIT 22




                                                                     007838
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 2 of
                                        236 06/09/21 Page 7 of 303 PageID 10681
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 3 of
                                        236 06/09/21 Page 8 of 303 PageID 10682
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 4 of
                                        236 06/09/21 Page 9 of 303 PageID 10683
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 5 of
                                        236 06/09/21 Page 10 of 303 PageID 10684
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 6 of
                                        236 06/09/21 Page 11 of 303 PageID 10685
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 7 of
                                        236 06/09/21 Page 12 of 303 PageID 10686
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 8 of
                                        236 06/09/21 Page 13 of 303 PageID 10687
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 9 of
                                        236 06/09/21 Page 14 of 303 PageID 10688
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 10 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 15 of 303 PageID 10689




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 11 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 16 of 303 PageID 10690




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 12 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 17 of 303 PageID 10691




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 13 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 18 of 303 PageID 10692




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 14 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 19 of 303 PageID 10693




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 15 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 20 of 303 PageID 10694




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 16 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 21 of 303 PageID 10695




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 17 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 22 of 303 PageID 10696




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 18 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 23 of 303 PageID 10697




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 19 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 24 of 303 PageID 10698




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 20 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 25 of 303 PageID 10699




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 21 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 26 of 303 PageID 10700




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 22 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 27 of 303 PageID 10701




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 23 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 28 of 303 PageID 10702




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 24 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 29 of 303 PageID 10703




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 25 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 30 of 303 PageID 10704




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 26 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 31 of 303 PageID 10705




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 27 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 32 of 303 PageID 10706




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 28 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 33 of 303 PageID 10707




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 29 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 34 of 303 PageID 10708




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 30 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 35 of 303 PageID 10709




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 31 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 36 of 303 PageID 10710




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 32 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 37 of 303 PageID 10711




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 33 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 38 of 303 PageID 10712




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 34 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 39 of 303 PageID 10713




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 35 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 40 of 303 PageID 10714




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 36 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 41 of 303 PageID 10715




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 37 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 42 of 303 PageID 10716




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 38 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 43 of 303 PageID 10717




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 39 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 44 of 303 PageID 10718




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 40 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 45 of 303 PageID 10719




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 41 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 46 of 303 PageID 10720




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 42 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 47 of 303 PageID 10721




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 43 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 48 of 303 PageID 10722




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 44 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 49 of 303 PageID 10723




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 45 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 50 of 303 PageID 10724




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 46 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 51 of 303 PageID 10725




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 47 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 52 of 303 PageID 10726




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 48 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 53 of 303 PageID 10727




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 49 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 54 of 303 PageID 10728




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 50 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 55 of 303 PageID 10729




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 51 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 56 of 303 PageID 10730




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 52 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 57 of 303 PageID 10731




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 53 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 58 of 303 PageID 10732




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 54 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 59 of 303 PageID 10733




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 55 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 60 of 303 PageID 10734




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 56 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 61 of 303 PageID 10735




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 57 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 62 of 303 PageID 10736




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 58 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 63 of 303 PageID 10737




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 59 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 64 of 303 PageID 10738




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 60 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 65 of 303 PageID 10739




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 61 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 66 of 303 PageID 10740




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 62 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 67 of 303 PageID 10741




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 63 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 68 of 303 PageID 10742




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 64 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 69 of 303 PageID 10743




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 65 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 70 of 303 PageID 10744




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 66 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 71 of 303 PageID 10745




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 67 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 72 of 303 PageID 10746




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 68 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 73 of 303 PageID 10747




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 69 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 74 of 303 PageID 10748




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 70 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 75 of 303 PageID 10749




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 71 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 76 of 303 PageID 10750




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 72 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 77 of 303 PageID 10751




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 73 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 78 of 303 PageID 10752




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 74 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 79 of 303 PageID 10753




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 75 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 80 of 303 PageID 10754




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 76 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 81 of 303 PageID 10755




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 77 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 82 of 303 PageID 10756




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 78 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 83 of 303 PageID 10757




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 79 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 84 of 303 PageID 10758




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 80 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 85 of 303 PageID 10759




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 81 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 86 of 303 PageID 10760




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 82 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 87 of 303 PageID 10761




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 83 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 88 of 303 PageID 10762




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 84 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 89 of 303 PageID 10763




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 85 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 90 of 303 PageID 10764




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 86 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 91 of 303 PageID 10765




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 87 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 92 of 303 PageID 10766




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 88 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 93 of 303 PageID 10767




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 89 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 94 of 303 PageID 10768




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 90 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 95 of 303 PageID 10769




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 91 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 96 of 303 PageID 10770




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 92 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 97 of 303 PageID 10771




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 93 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 98 of 303 PageID 10772




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 94 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 99 of 303 PageID 10773




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 95 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 100 of 303 PageID 10774




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 96 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 101 of 303 PageID 10775




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 97 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 102 of 303 PageID 10776




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 98 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 103 of 303 PageID 10777




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 99 of
Case 3:21-cv-00538-N Document 26-30 Filed236 06/09/21 Page 104 of 303 PageID 10778




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 100
                                       of 23606/09/21 Page 105 of 303 PageID 10779
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 101
                                       of 23606/09/21 Page 106 of 303 PageID 10780
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007938
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 102
                                       of 23606/09/21 Page 107 of 303 PageID 10781
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007939
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 103
                                       of 23606/09/21 Page 108 of 303 PageID 10782
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007940
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 104
                                       of 23606/09/21 Page 109 of 303 PageID 10783
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007941
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 105
                                       of 23606/09/21 Page 110 of 303 PageID 10784
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007942
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 106
                                       of 23606/09/21 Page 111 of 303 PageID 10785
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007943
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 107
                                       of 23606/09/21 Page 112 of 303 PageID 10786
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007944
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 108
                                       of 23606/09/21 Page 113 of 303 PageID 10787
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007945
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 109
                                       of 23606/09/21 Page 114 of 303 PageID 10788
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007946
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 110
                                       of 23606/09/21 Page 115 of 303 PageID 10789
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007947
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 111
                                       of 23606/09/21 Page 116 of 303 PageID 10790
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007948
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 112
                                       of 23606/09/21 Page 117 of 303 PageID 10791
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007949
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 113
                                       of 23606/09/21 Page 118 of 303 PageID 10792
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007950
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 114
                                       of 23606/09/21 Page 119 of 303 PageID 10793
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007951
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 115
                                       of 23606/09/21 Page 120 of 303 PageID 10794
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007952
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 116
                                       of 23606/09/21 Page 121 of 303 PageID 10795
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007953
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 117
                                       of 23606/09/21 Page 122 of 303 PageID 10796
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007954
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 118
                                       of 23606/09/21 Page 123 of 303 PageID 10797
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007955
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 119
                                       of 23606/09/21 Page 124 of 303 PageID 10798
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007956
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 120
                                       of 23606/09/21 Page 125 of 303 PageID 10799
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007957
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 121
                                       of 23606/09/21 Page 126 of 303 PageID 10800
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007958
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 122
                                       of 23606/09/21 Page 127 of 303 PageID 10801
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007959
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 123
                                       of 23606/09/21 Page 128 of 303 PageID 10802
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007960
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 124
                                       of 23606/09/21 Page 129 of 303 PageID 10803
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007961
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 125
                                       of 23606/09/21 Page 130 of 303 PageID 10804
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007962
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 126
                                       of 23606/09/21 Page 131 of 303 PageID 10805
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007963
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 127
                                       of 23606/09/21 Page 132 of 303 PageID 10806
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007964
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 128
                                       of 23606/09/21 Page 133 of 303 PageID 10807
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007965
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 129
                                       of 23606/09/21 Page 134 of 303 PageID 10808
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007966
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 130
                                       of 23606/09/21 Page 135 of 303 PageID 10809
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007967
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 131
                                       of 23606/09/21 Page 136 of 303 PageID 10810
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007968
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 132
                                       of 23606/09/21 Page 137 of 303 PageID 10811
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 133
                                       of 23606/09/21 Page 138 of 303 PageID 10812
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007970
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 134
                                       of 23606/09/21 Page 139 of 303 PageID 10813
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007971
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 135
                                       of 23606/09/21 Page 140 of 303 PageID 10814
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007972
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 136
                                       of 23606/09/21 Page 141 of 303 PageID 10815
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007973
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 137
                                       of 23606/09/21 Page 142 of 303 PageID 10816
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007974
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 138
                                       of 23606/09/21 Page 143 of 303 PageID 10817
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007975
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 139
                                       of 23606/09/21 Page 144 of 303 PageID 10818
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007976
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 140
                                       of 23606/09/21 Page 145 of 303 PageID 10819
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007977
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 141
                                       of 23606/09/21 Page 146 of 303 PageID 10820
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007978
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 142
                                       of 23606/09/21 Page 147 of 303 PageID 10821
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007979
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 143
                                       of 23606/09/21 Page 148 of 303 PageID 10822
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 144
                                       of 23606/09/21 Page 149 of 303 PageID 10823
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007981
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 145
                                       of 23606/09/21 Page 150 of 303 PageID 10824
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007982
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 146
                                       of 23606/09/21 Page 151 of 303 PageID 10825
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007983
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 147
                                       of 23606/09/21 Page 152 of 303 PageID 10826
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007984
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 148
                                       of 23606/09/21 Page 153 of 303 PageID 10827
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007985
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 149
                                       of 23606/09/21 Page 154 of 303 PageID 10828
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007986
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 150
                                       of 23606/09/21 Page 155 of 303 PageID 10829
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007987
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 151
                                       of 23606/09/21 Page 156 of 303 PageID 10830
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007988
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 152
                                       of 23606/09/21 Page 157 of 303 PageID 10831
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007989
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 153
                                       of 23606/09/21 Page 158 of 303 PageID 10832
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007990
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 154
                                       of 23606/09/21 Page 159 of 303 PageID 10833
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007991
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 155
                                       of 23606/09/21 Page 160 of 303 PageID 10834
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007992
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 156
                                       of 23606/09/21 Page 161 of 303 PageID 10835
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 157
                                       of 23606/09/21 Page 162 of 303 PageID 10836
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 158
                                       of 23606/09/21 Page 163 of 303 PageID 10837
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 159
                                       of 23606/09/21 Page 164 of 303 PageID 10838
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 160
                                       of 23606/09/21 Page 165 of 303 PageID 10839
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 161
                                       of 23606/09/21 Page 166 of 303 PageID 10840
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007998
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 162
                                       of 23606/09/21 Page 167 of 303 PageID 10841
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    007999
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 163
                                       of 23606/09/21 Page 168 of 303 PageID 10842
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008000
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 164
                                       of 23606/09/21 Page 169 of 303 PageID 10843
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008001
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 165
                                       of 23606/09/21 Page 170 of 303 PageID 10844
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008002
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 166
                                       of 23606/09/21 Page 171 of 303 PageID 10845
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008003
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 167
                                       of 23606/09/21 Page 172 of 303 PageID 10846
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008004
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 168
                                       of 23606/09/21 Page 173 of 303 PageID 10847
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008005
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 169
                                       of 23606/09/21 Page 174 of 303 PageID 10848
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008006
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 170
                                       of 23606/09/21 Page 175 of 303 PageID 10849
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008007
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 171
                                       of 23606/09/21 Page 176 of 303 PageID 10850
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008008
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 172
                                       of 23606/09/21 Page 177 of 303 PageID 10851
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 173
                                       of 23606/09/21 Page 178 of 303 PageID 10852
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008010
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 174
                                       of 23606/09/21 Page 179 of 303 PageID 10853
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008011
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 175
                                       of 23606/09/21 Page 180 of 303 PageID 10854
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008012
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 176
                                       of 23606/09/21 Page 181 of 303 PageID 10855
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008013
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 177
                                       of 23606/09/21 Page 182 of 303 PageID 10856
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008014
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 178
                                       of 23606/09/21 Page 183 of 303 PageID 10857
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008015
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 179
                                       of 23606/09/21 Page 184 of 303 PageID 10858
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008016
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 180
                                       of 23606/09/21 Page 185 of 303 PageID 10859
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 181
                                       of 23606/09/21 Page 186 of 303 PageID 10860
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008018
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 182
                                       of 23606/09/21 Page 187 of 303 PageID 10861
Case 3:21-cv-00538-N Document 26-30 Filed




                                                                    008019
Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 183
                                       of 23606/09/21 Page 188 of 303 PageID 10862
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 184
                                       of 23606/09/21 Page 189 of 303 PageID 10863
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 185
                                       of 23606/09/21 Page 190 of 303 PageID 10864
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 186
                                       of 23606/09/21 Page 191 of 303 PageID 10865
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 187
                                       of 23606/09/21 Page 192 of 303 PageID 10866
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 188
                                       of 23606/09/21 Page 193 of 303 PageID 10867
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 189
                                       of 23606/09/21 Page 194 of 303 PageID 10868
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 190
                                       of 23606/09/21 Page 195 of 303 PageID 10869
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 191
                                       of 23606/09/21 Page 196 of 303 PageID 10870
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 192
                                       of 23606/09/21 Page 197 of 303 PageID 10871
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 193
                                       of 23606/09/21 Page 198 of 303 PageID 10872
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 194
                                       of 23606/09/21 Page 199 of 303 PageID 10873
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 195
                                       of 23606/09/21 Page 200 of 303 PageID 10874
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 196
                                       of 23606/09/21 Page 201 of 303 PageID 10875
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 197
                                       of 23606/09/21 Page 202 of 303 PageID 10876
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 198
                                       of 23606/09/21 Page 203 of 303 PageID 10877
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 199
                                       of 23606/09/21 Page 204 of 303 PageID 10878
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 200
                                       of 23606/09/21 Page 205 of 303 PageID 10879
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 201
                                       of 23606/09/21 Page 206 of 303 PageID 10880
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 202
                                       of 23606/09/21 Page 207 of 303 PageID 10881
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 203
                                       of 23606/09/21 Page 208 of 303 PageID 10882
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 204
                                       of 23606/09/21 Page 209 of 303 PageID 10883
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 205
                                       of 23606/09/21 Page 210 of 303 PageID 10884
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 206
                                       of 23606/09/21 Page 211 of 303 PageID 10885
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 207
                                       of 23606/09/21 Page 212 of 303 PageID 10886
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 208
                                       of 23606/09/21 Page 213 of 303 PageID 10887
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 209
                                       of 23606/09/21 Page 214 of 303 PageID 10888
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 210
                                       of 23606/09/21 Page 215 of 303 PageID 10889
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 211
                                       of 23606/09/21 Page 216 of 303 PageID 10890
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 212
                                       of 23606/09/21 Page 217 of 303 PageID 10891
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 213
                                       of 23606/09/21 Page 218 of 303 PageID 10892
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 214
                                       of 23606/09/21 Page 219 of 303 PageID 10893
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 215
                                       of 23606/09/21 Page 220 of 303 PageID 10894
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 216
                                       of 23606/09/21 Page 221 of 303 PageID 10895
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 217
                                       of 23606/09/21 Page 222 of 303 PageID 10896
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 218
                                       of 23606/09/21 Page 223 of 303 PageID 10897
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 219
                                       of 23606/09/21 Page 224 of 303 PageID 10898
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 220
                                       of 23606/09/21 Page 225 of 303 PageID 10899
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 221
                                       of 23606/09/21 Page 226 of 303 PageID 10900
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 222
                                       of 23606/09/21 Page 227 of 303 PageID 10901
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 223
                                       of 23606/09/21 Page 228 of 303 PageID 10902
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 224
                                       of 23606/09/21 Page 229 of 303 PageID 10903
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 225
                                       of 23606/09/21 Page 230 of 303 PageID 10904
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 226
                                       of 23606/09/21 Page 231 of 303 PageID 10905
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 227
                                       of 23606/09/21 Page 232 of 303 PageID 10906
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 228
                                       of 23606/09/21 Page 233 of 303 PageID 10907
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 229
                                       of 23606/09/21 Page 234 of 303 PageID 10908
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 230
                                       of 23606/09/21 Page 235 of 303 PageID 10909
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 231
                                       of 23606/09/21 Page 236 of 303 PageID 10910
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 232
                                       of 23606/09/21 Page 237 of 303 PageID 10911
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 233
                                       of 23606/09/21 Page 238 of 303 PageID 10912
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 234
                                       of 23606/09/21 Page 239 of 303 PageID 10913
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 235
                                       of 23606/09/21 Page 240 of 303 PageID 10914
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-41 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 236
                                       of 23606/09/21 Page 241 of 303 PageID 10915
Case 3:21-cv-00538-N Document 26-30 Filed




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 1 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 242 of 303 PageID 10916



                               EXHIBIT 33




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 2 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 243 of 303 PageID 10917
                                                                EXECUTION COPY




                                   RED RIVER CLO LTD.

                                             Issuer

                                   RED RIVER CLO CORP.

                                           Co-Issuer

                                             AND

                             STATE STREET BANK AND TRUST

                                       Successor Trustee



                                     AMENDMENT NO. 1

                                              TO

                                         INDENTURE

                                   Dated as of October 2, 2007

                  _________________________________________________________

                          COLLATERALIZED DEBT OBLIGATIONS

                  _________________________________________________________




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 3 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 244 of 303 PageID 10918



         THIS AMENDMENT NO. 1 TO INDENTURE (the “Amendment”), dated as of
  October 2, 2007, among Red River CLO Ltd. (the “Issuer”), Red River CLO Corp. (the
  “Co-Issuer”) and State Street Bank and Trust, as successor in interest to Investors Bank & Trust
  Company (the “Successor Trustee”), hereby amends the Indenture, dated as of August 3, 2006,
  among the Issuer, the Co-Issuer and the Successor Trustee (the “Indenture”).



                                       WITNESSETH

         WHEREAS, the Issuer, the Co-Issuer and U.S. Bank National Association (the “Original
  Trustee”) entered into the Indenture;

         WHEREAS, the Issuer, the Co-Issuer and the Successor Trustee entered into the
  Supplemental Indenture No. 1, dated as of March 28, 2007, which replaced the Original Trustee
  with the Successor Trustee;

         WHEREAS, the Issuers and the Noteholders desire to amend certain definitions
  contained in the Indenture;

         WHEREAS, Highland Capital Management, L.P. acts as Servicer with respect to the
  Collateral;

          WHEREAS, Section 8.2 of the Indenture provides that the Indenture may be amended by
  the Issuer, Co-Issuer and the Trustee with the consent of the Servicer, Majority of each Class of
  Notes adversely affected thereby and a Majority of the Preference Shares adversely affected
  thereby;

         WHEREAS, the necessary consents pursuant to the preceding paragraph have been
  obtained;

         WHEREAS, Section 8.2 of the Indenture provides that the Ratings Agencies shall
  confirm that this Amendment to the Indenture will not cause the rating of any Class of Notes to
  be reduced or withdrawn; and

          WHEREAS, the Ratings Agencies have confirmed that this Amendment to the Indenture
  will not cause the rating of any Class of Notes to be reduced or withdrawn.

           NOW, THEREFORE, the parties hereto agree as follows:

           SECTION 1. Defined Terms.

         For purposes of this Amendment, all capitalized terms which are used but not otherwise
  defined herein shall have the respective meanings assigned to such terms in the Indenture.




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 4 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 245 of 303 PageID 10919



           SECTION 2. Amendment.

         Section 1.1 of the Indenture is hereby amended to replace in its entirety the definition of
  Servicing Fee Portion with the following:

          “Servicing Fee Portion”: 100% minus (a) for any Payment Date from the Closing Date
  until (and including) the Payment Date in February 2008, the Class II Preference Share
  Percentage for such Payment Date and (b) for any other Payment Date, a percentage (between
  0% and 100%) selected by the Servicer in its sole discretion and reported to the Trustee in
  writing on or before the related Determination Date; provided that, with respect to the Payment
  Date in May 2008, such percentage shall be a minimum of the product of (i) the Class II
  Preference Share Percentage for such Payment Date and (ii) 3.3%.

           SECTION 3. Effect of Amendment.

          Upon execution of this Amendment, the Indenture shall be, and be deemed to be,
  modified and amended in accordance herewith and the respective rights, limitations, obligations,
  duties, liabilities and immunities of the Issuer, Co-Issuer and the Successor Trustee shall
  hereafter be determined, exercised and enforced subject in all respects to such modifications and
  amendments, and all the terms and conditions of this Amendment shall be deemed to be part of
  the terms and conditions of the Indenture for any and all purposes. Except as modified and
  expressly amended by this Amendment, the Indenture is in all respects ratified and confirmed,
  and all the terms, provisions and conditions thereof shall be and remain in full force and effect.

           SECTION 4. Binding Effect.

          The provisions of this Amendment shall be binding upon and inure to the benefit of the
  Issuer, the Co-Issuer and the Successor Trustee and each of their respective successors and
  assigns.

           SECTION 5. GOVERNING LAW.

       THIS AMENDMENT TO THE INDENTURE SHALL BE CONSTRUED IN
  ACCORDANCE WITH AND GOVERNED BY THE LAWS OF THE STATE OF NEW
  YORK APPLICABLE TO AGREEMENTS MADE AND TO BE PERFORMED THEREIN
  WITHOUT REFERENCE TO ITS CONFLICT OF LAW PROVISIONS, AND THE
  OBLIGATIONS, RIGHTS AND REMEDIES OF THE PARTIES HEREUNDER SHALL BE
  DETERMINED IN ACCORDANCE WITH SUCH LAWS.

           SECTION 6. Severability of Provisions.

         If any one or more of the provisions or terms of this Amendment shall be for any reason
  whatsoever held invalid, then such provisions or terms shall be deemed severable from the
  remaining provisions or terms of this Amendment and shall in no way affect the validity or
  enforceability of the other provisions or terms of this Amendment.




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 5 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 246 of 303 PageID 10920



           SECTION 7. Section Headings.

         The section headings herein are for convenience of reference only, and shall not limit or
  otherwise affect the meaning hereof.

           SECTION 8. Counterparts.

          This Amendment may be executed in several counterparts, each of which shall be an
  original and all of which shall constitute but one and the same instrument.

                                         [Signature pages follow]




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 6 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 247 of 303 PageID 10921




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 7 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 248 of 303 PageID 10922




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 8 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 249 of 303 PageID 10923




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Case 19-34054-sgj11 Doc 1822-42 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 9 of 9
Case 3:21-cv-00538-N Document 26-30 Filed 06/09/21 Page 250 of 303 PageID 10924




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 1 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 251 of 303 PageID 10925



                               EXHIBIT 44




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 2 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 252 of 303 PageID 10926




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 3 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 253 of 303 PageID 10927




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 4 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 254 of 303 PageID 10928




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 5 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 255 of 303 PageID 10929




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 6 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 256 of 303 PageID 10930




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 7 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 257 of 303 PageID 10931




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 8 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 258 of 303 PageID 10932




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 9 of
Case 3:21-cv-00538-N Document 26-30 Filed53 06/09/21 Page 259 of 303 PageID 10933




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 10 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 260 of 303 PageID 10934




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 11 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 261 of 303 PageID 10935




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 12 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 262 of 303 PageID 10936




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 13 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 263 of 303 PageID 10937




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 14 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 264 of 303 PageID 10938




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 15 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 265 of 303 PageID 10939




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 16 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 266 of 303 PageID 10940




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 17 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 267 of 303 PageID 10941




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 18 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 268 of 303 PageID 10942




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 19 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 269 of 303 PageID 10943




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 20 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 270 of 303 PageID 10944




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 21 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 271 of 303 PageID 10945




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 22 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 272 of 303 PageID 10946




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 23 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 273 of 303 PageID 10947




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 24 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 274 of 303 PageID 10948




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 25 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 275 of 303 PageID 10949




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 26 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 276 of 303 PageID 10950




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 27 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 277 of 303 PageID 10951




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 28 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 278 of 303 PageID 10952




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 29 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 279 of 303 PageID 10953




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 30 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 280 of 303 PageID 10954




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 31 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 281 of 303 PageID 10955




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 32 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 282 of 303 PageID 10956




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 33 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 283 of 303 PageID 10957




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 34 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 284 of 303 PageID 10958




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 35 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 285 of 303 PageID 10959




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 36 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 286 of 303 PageID 10960




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 37 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 287 of 303 PageID 10961




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 38 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 288 of 303 PageID 10962




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 39 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 289 of 303 PageID 10963




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 40 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 290 of 303 PageID 10964




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 41 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 291 of 303 PageID 10965




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 42 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 292 of 303 PageID 10966




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 43 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 293 of 303 PageID 10967




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 44 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 294 of 303 PageID 10968




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 45 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 295 of 303 PageID 10969




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 46 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 296 of 303 PageID 10970




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 47 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 297 of 303 PageID 10971




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 48 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 298 of 303 PageID 10972




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 49 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 299 of 303 PageID 10973




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 50 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 300 of 303 PageID 10974




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 51 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 301 of 303 PageID 10975




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 52 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 302 of 303 PageID 10976




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Case 19-34054-sgj11 Doc 1822-43 Filed 01/22/21 Entered 01/22/21 21:50:07 Page 53 of
Case 3:21-cv-00538-N Document 26-30 Filed 53 06/09/21 Page 303 of 303 PageID 10977




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